(Rev. 1/18) Petition for Admission Pro Hac Vice

lN THE UNITED STATES D]STRICT COURT FOR
'I`HE WESTERN DISTRICT OF MISSOURI

PETITION FOR ADMISSION PRO HAC VICE
Aft`idavit of `l\'lovant

l, LEE C‘ TIEMAN , an active member in good standing of the Bar of the United States
District Court for the Western District of `Missouri, request that this court admit pro hac vice,
KYLE D. GOOCH , an attorney admitted to practice in a United States District Court, but not admitted to the
Bar of this court, Who Will be counsel for the Third"l“'df§ Defendarlf, , in the case(s) listed below. l am aware that the
local rules of th' » ourt require thatl participate in the preparation and presentation of said case(s), and that l accept
service of all ap rs served I also understand and agree that if the admittce does not sign up to receive CM/ECF filings, l

 

 

 
 

 

 

 

 

 

 

Will be ses ns/i)ole fr jnoli§ing.the»admittee of all papers served by CM/ECF.

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Signature of Movant/Attorney " MO Bar Number
April 29, 2019 Tieman, Spencer & Hicks
Date Address
(816) 279'300() 702 Felix Stl.'eet
Phone

St. .Ioseph, MO 64501

 

Affidavit of Proposed Admittee

l, KYLE D- GOGCH , certify that l reside outside the
boundaries of the Western District of Missouri and l am not admitted to the Bar of this court l am a member in good
Standing m the state(s) of w N€>W Yf>rk n and the United States District_ Court(s) of
Eastom, Wcstcm, Northem and Southern Districts of New York . (Attach additional page if necessary.)
Pursuant to Local Rule 83,5(}1), I certify l am a member in good standing in all bars of which I am a member. I
understand that if this court grants me admission pro hac vice, the movant bringing this motion must participate in the
preparation and presentation of the matters listed below, and must accept service of all papers served I am aware thatl
can register to receive CM/BCF filings lunderstand and agree that should I choose not to register for CM/ECF, I will
arrange With movant to keep me advised of papers served and filed in this case.

 

Case Number(s): Case Title(s)
5:18-cv-06147»BCW VetBridge Product Deveioprnent Snbsidiary l (NM~OMP), LLC
7 n v Newl\/larketPharinacenticals LLC; and NowMarketPhannaceuticals, LLC
v. VetPhann, lnc., 'I`hir-d -'Paity Defendant

Date: Apr1129,2019 Signature: %,Z~D M

State Bar of Residence & Bar Number: Add1 ess: HARRTS BEACH PLLC~
Ncw York Bar Roli #: 4765533

 

 

 

 

 

 

 

99 Garnsey Road, Pittsford, NY 14534

 

Ph€)lle: (585)419-8844 y Email: kgooch@hartisbeach.co'm

Pursuant to WDMO Local Rule 83.5(11) a fee of $ 100 is required for each case in Which the attorney is seeking
admittance

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